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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,               CR. NO. 2:08-562 WBS
15                Plaintiff,
16                                           ORDER
          v.
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     JOSE ANTONIO CABADA,
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                   Defendant.
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21                                ----oo0oo----
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23             On March 23, 2015, defendant Jose Antonio Cabada filed

24   a motion to reduce sentence pursuant to 18 U.S.C. § 3582(c)(2).

25   After the Office of the Federal Defender declined to recommend

26   appointment of counsel on June 12, 2015, the court appointed

27   counsel on July 9, 2015.     The court now vacates the scheduling

28   conference set for August 3, 2015 and sets the following briefing
                                         1
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1    schedule.

2                Counsel for defendant shall file an amended motion to

3    reduce sentence no later than August 31, 2015.         The United States

4    shall file an opposition no later than September 30, 2015.

5    Counsel for defendant may then file a reply no later than October

6    19, 2015.    The court will then take the motion under submission

7    and will inform the parties if oral argument or further

8    proceedings are necessary.

9                IT IS SO ORDERED.

10   Dated:   July 29, 2015

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